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     DENIED
     DENY: Second request for extension of
     briefing deadline does not give the Court
 1   sufficient time for hearing preparation.

 2
 3
 4
         Entered on Docket
         May 17, 2016
 5 __________________________________________________________________
 6
 7   CHRISTOPHER P. BURKE, ESQ.
     Nevada Bar No.: 004093
 8   attycburke@charter.net
     702 Plumas Street
 9   Reno, NV 89509
     (775) 333-9277
10   Attorney for Debtor(s)
11
                                 UNITED STATES BANKRUPTCY COURT
12                                     DISTRICT OF NEVADA
13   In re:                                        )     Case No.: BK-N-13-50461-BTB
                                                   )     Chapter 7
14   CHRISTOPHER MICHAEL MARINO                    )
     VALERIE MARGARET MARINO                       )
15                                                 )     Evidentiary Hearing Date: 2-25-16
                                                   )     Evidentiary Hearing Time: 10:00 a.m.
16                                                 )     Evidentiary Hearing Date: 2-26-16
                                                   )     Evidentiary Hearing Time: 10:00 a.m.
17                                                 )
                                                   )     Current Hearing Date: 6-03-16
18                           Debtors.              )     Current Hearing Time: 10:00 a.m.
19
                    ORDER APPROVING STIPULATION TO EXTEND
20                      DUE DATE OF EVIDENTIARY BRIEF
21            Pursuant to the Stipulation entered into by and between Secured Creditor, OCWEN
22   LOAN SERVICING LLC (“Ocwen”), and Debtors, CHRISTOPHER MICHAEL MARINO
23   and VALERIE MARGARET MARINO (“Debtors” or “Marino”), by and through their
24   counsel of record, which refers to an extension of the evidentiary briefing schedule set forth
25   in the Order Approving Stipulation for Continuance of Evidentiary Briefing Deadlines
26   Pursuant to LR 9017 [Dkt. 45].
27            The Marinos and Ocwen stipulate and agree to extend the due date of the Debtors’
28   Responsive Brief from May 19th 2016 to May 26th 2016.
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 1           IT IS HEREBY ORDERED, Debtors’ Responsive Brief is due on or before May 26th
 2   2016.
 3           IT IS SO ORDERED.
 4
 5   Respectfully submitted
 6
 7    /s/ CHRISTOPHER P. BURKE, ESQ.
     CHRISTOPHER P. BURKE, ESQ
 8   Attorney for Christopher Michael Marino
     and Valerie Margaret Marino
 9   702 Plumas St.
     Reno, Nevada 89509
10   (775) 333-9277 Fax (775)329-1165
11
12   (X) approve         ( ) disapprove
13
      /s/ CHRISTOPHER SWIFT, ESQ.
14   CHRISTOPHER SWIFT, ESQ
     Attorney for Ocwen Loan Servicing LLC
15   WRIGHT, FINLAY & ZAK LLP
     7785 W. Sahara Ave., Suite 200
16   Las Vegas, NV 89117
     (702) 475-7964 Fax (702)946-1345
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 1
 2                         ALTERNATIVE METHOD Re: RULE 9021
 3
     In accordance with Local Rule 9021, counsel submitting this document certifies that the
 4   order accurately reflects the court’s ruling and that:
 5
                  The court waived the requirements of approval under LR 9021 (b)(1).
 6
 7                No parties appeared or filed written objections, and there is no trustee
                  appointed in this case.
 8
      X           I have delivered a copy of this proposed order to all counsel who appeared at
 9                the hearing, any unrepresented parties who appeared at the hearing, and any
                  trustee appointed in this case, and each has approved or disapproved the
10                order, or failed to respond as indicated below:
11                Christopher Swift, Esq. at cswift@wrightlegal.net on May 13, 2016
12                No opposition was filed to the motion and no counsel appeared at the
                  hearing.
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